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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )         No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
CHAD WOLF, et al.,                       )
                                         )
                Defendants-Respondents.  )
                                         )

                         JANUARY 17, 2020 JOINT STATUS REPORT

       On January 9, 2020, this Court ordered that the parties confer and, by January 17, 2020,

report regarding the parties’ positions on whether the status conference should be rescheduled,

and if not, provide a proposed agenda for the status conference stating the parties’ positions on

the matters to be addressed and identifying the submissions relevant to each item. ECF No. 454.

       The parties now report that they have agreed that the status conference is not necessary at

this time. However, the parties anticipate that a status conference may be helpful and will file a

further report once they have identified a mutually agreeable proposed timeline along with an

agenda of the matters to be addressed, the parties’ respective positions, and any submissions

relevant to each item.

       Additionally, the parties anticipate that they will jointly move to extend the deadlines for

the close of fact discovery, to file amended pleadings, and related items next week.
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  Respectfully submitted this 17th day of January, 2020.


Counsel for the Respondents                   Counsel for the Petitioners

JOSEPH H. HUNT                             /s/ Stephen Provazza
Assistant Attorney General                 Kevin S. Prussia (BBO # 666813)
                                           Michaela P. Sewall (BBO # 683182)
WILLIAM C. PEACHEY                         Shirley X. Li Cantin (BBO # 675377)
Director                                   Jonathan A. Cox (BBO # 687810)
Office of Immigration Litigation           Stephen Provazza (BBO # 691159)
                                           Colleen M. McCullough (BBO # 696455)
LAUREN E. FASCETT                          Matthew W. Costello (BBO # 696384)
Senior Litigation Counsel                  WILMER CUTLER PICKERING
                                             HALE AND DORR LLP
/s/ Mary L. Larakers                       60 State Street
MARY L. LARAKERS                           Boston, MA 02109
(Texas Bar # 24093943)                     Telephone: (617) 526-6000
Trial Attorney                             Facsimile: (617) 526-5000
U.S. Department of Justice, Civil Division kevin.prussia@wilmerhale.com
Office of Immigration Litigation           michaela.sewall@wilmerhale.com
District Court Section                     shirley.cantin@wilmerhale.com
P.O. Box 868, Ben Franklin Station         jonathan.cox@wilmerhale.com
Washington, DC 20044                       stephen.provazza@wilmerhale.com
(202) 353-4419                             colleen.mccullough@wilmerhale.com
(202) 305-7000 (facsimile)                 matthew.costello@wilmerhale.com
mary.l.larakers@usdoj.gov
                                           Matthew R. Segal (BBO # 654489)
                                           Adriana Lafaille (BBO # 680210)
                                           AMERICAN CIVIL LIBERTIES UNION
                                           FOUNDATION OF MASSACHUSETTS, INC.
                                           211 Congress Street
                                           Boston, MA 02110
                                           (617) 482-3170

                                              Kathleen M. Gillespie (BBO # 661315)
                                              Attorney at Law
                                              6 White Pine Lane
                                              Lexington, MA 02421
                                              (339) 970-9283




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